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 8

 9
                                  UNITED STATES DISTRICT COURT
10
                                          DISTRICT OF NEVADA
11

12    LISA MARIE BAILEY, individually,                     Case No.:
13                          Plaintiff,                     COMPLAINT
14    vs.
15    AFFINITYLIFESTYLES.COM, INC. d/b/a
      REAL ALKALIZED WATER, a Nevada
16    corporation; DOES I-X; and ROE BUSINESS
      ENTITIES I-X, inclusive,
17
                            Defendants.
18

19
                                  COMPLAINT WITH JURY DEMAND
20
            Plaintiff LISA MARIE BAILEY (“Plaintiff”), by and through her attorneys of record, the law
21
     firm MAIER GUTIERREZ AYON, hereby demands a trial by jury and complains and alleges against the
22
     above named Defendant, AFFINITYLIFESTYLES.COM, INC. d/b/a REAL ALKALIZED WATER,
23
     a Nevada corporation; DOES I-X; and ROE BUSINESS ENTITIES I-X, inclusive (collectively,
24
     “Defendant” or “Real Water”) as follows:
25
                  JURISDICTION, VENUE AND LEGAL BASIS FOR THIS ACTION
26
            1.      This Court possesses jurisdiction to entertain this matter pursuant to 28 U.S.C. § 1331
27
     because Plaintiff’s claims arise under Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et
28


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 1   seq.

 2          2.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 since “a substantial

 3   part of the events or omissions giving rise to the claim[s] occurred” in Nevada.

 4          3.      This Court has supplemental jurisdiction over Plaintiff’s state law claims under 28

 5   U.S.C. § 1367(a).

 6          4.      This civil action is brought by Plaintiff pursuant to federal common and statutory law.

 7                         EXHAUSTION OF ADMINISTRATIVE REMEDIES
 8          5.      From about April 4, 2016 until about June 25, 2016, Defendant subjected Plaintiff to

 9   discrimination based on religion, sex, and retaliation in violation of Title VII of the Civil Rights Act

10   of 1964, 42 U.S.C. § 2000e et. seq.

11          6.      From about April 4, 2016 until about June 25, 2016, Defendant subjected Plaintiff to

12   discrimination based on her disability in violation of Title I of the Americans with Disabilities Act

13   Amendments Act (ADAAA).

14          7.      From about April 4, 2016 until about June 25, 2016, Defendant subjected Plaintiff to

15   discrimination based on her age in violation of the Age Discrimination in Employment Act (ADEA).

16          8.      From about April 4, 2016 until about June 25, 2016, Defendant violated the Equal Pay

17   Act of 1963 (EPA).

18          9.      Thereafter, on or about June of 2016, Plaintiff filed a complaint of discrimination with

19   the Nevada Equal Rights Commission (“NERC”). On or about August 23, 2016, NERC filed

20   Plaintiff’s charge with the United States Equal Employment Opportunity Commission (“EEOC”).

21   This timely filing with the EEOC fulfilled her obligation to initiate an administrative claim before

22   seeking review in this Court.

23          10.     In Plaintiff’s EEOC filing, Plaintiff alleged facts demonstrating that Defendant

24   knowingly subjected Plaintiff to discriminatory treatment based on religion, age, sex, disability, and

25   equal pay.

26          11.     On or about November 7, 2016, the EEOC issued Plaintiff a Notice of Right to Sue

27   Letter, stating that she would have within 90 days of receipt of that letter to file a lawsuit.

28          12.     Accordingly, Plaintiff has met all administrative prerequisites to bring this lawsuit.


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 1                                                 PARTIES
 2          13.     Plaintiff LISA MARIE BAILEY is, and at all times pertinent hereto was, a resident of

 3   Clark County, Nevada.

 4          14.     Upon information and belief, defendant AFFINITYLIFESTYLES.COM, INC. d/b/a

 5   REAL ALKALIZED WATER, is, and at all times pertinent hereto was, a Nevada corporation

 6   authorized to do business in Clark County, Nevada.

 7          15.     Defendant sells bottled drinking water using the “Real Water” brand.

 8          16.     The true names and capacities, whether individual, corporate, associate, partnership or

 9   otherwise, of the Defendants herein designated as DOES I through X and ROE CORPORATIONS I

10   through X, inclusive, are unknown to Plaintiff, who therefore sues said Defendants by such fictitious

11   names. Plaintiff will seek leave of the Court to insert the true names and capacities of such Defendants

12   when the same have been ascertained and will further seek leave to join said Defendant in these

13   proceedings.

14                                        GENERAL ALLEGATIONS
15                  Defendant Hires Plaintiff and Imposes Religious Materials on Her
16          17.     On or around April 4, 2016, Defendant hired Plaintiff as a “Human Resources

17   Director” in the company’s Las Vegas office.

18          18.     On or around the day Plaintiff was hired, Plaintiff met Brent Jones, Defendant’s

19   founder and President, who raised the subject of religion by informing Plaintiff that he is a

20   Scientologist. Plaintiff indicated that she had no issue with that, as long as he had no issue with her

21   practicing the Mormon religion. Mr. Jones told Plaintiff he had no issue and that she was hired.

22          19.     However, after Plaintiff was hired, Defendant forced Plaintiff to watch several videos

23   with religious undertones, including “The Secret” and “The Way to Happiness,” and several others

24   based on the Scientology religion.

25          20.     Defendant also offered raises for employees who participated in “optional” self-

26   betterment courses, which included books, videos, and paperwork, many of which contained

27   Scientology-related messages and undertones and were authored or directly based on works by

28   Scientology founder L. Ron Hubbard.


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 1          21.     Some of the courses approved and disseminated by Defendant were directly promoted

 2   and/or created by the World Institute of Scientology Enterprises (“WISE”), which Defendant made

 3   no effort to conceal or explain the meaning of to its employees.

 4          22.     According to Defendant’s policies, for every “optional” course an employee viewed,

 5   the employee was entitled to a twenty-five-cent raise.

 6          23.     Plaintiff did not expect Defendant, a business seemingly unrelated to religion, to have

 7   an established religious culture amongst its employees, much less to force new employees to watch

 8   religious videos in exchange for pay raises.

 9          24.     Nonetheless, Plaintiff proceeded with her training and performed her work duties and

10   courses admirably.

11          25.     Despite completing at least two of the “optional” self-betterment courses, Plaintiff was

12   not given any raises, and consistently only earned $15.00 per hour while employed with Defendant.

13          26.     Plaintiff expressed her discomfort with the courses repeatedly to management

14   throughout the duration of her employment, but was never given an explanation as to why Defendant

15   imposed religious material on its employees in the workplace.

16                           Defendant Demotes Plaintiff Without Justification
17          27.     Approximately two weeks into her employment, Defendant placed Plaintiff on paid

18   administrative leave and then demoted Plaintiff from her position as the Human Resources Director

19   and placed her in the position of Assistant Human Resources Director, without giving Plaintiff any

20   reason (verbal or written) for doing so.

21          28.     Plaintiff’s paid administrative leave ended on or around May 2, 2016.

22          29.     Upon information and belief, on or around Plaintiff’s second day of paid administrative

23   leave, Defendant hired someone else to take over the Human Resources Director position without

24   notifying Plaintiff that it was doing so, even though that position was supposed to be held for Plaintiff.

25          30.     Upon returning work on or around May 2, 2016, Plaintiff was informed by Defendant

26   that the Human Resources Director position had been filled while she was out, and that she was now

27   going to be the Assistant Director of Human Resources, with the same rate of pay at $15.00 per hour.

28          31.     Plaintiff’s position as Human Resources Director was replaced by Frank Consiglio, a


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 1   shareholder of Defendant who had less experience than Plaintiff in the human resources field.

 2            32.   Despite Mr. Consiglio’s lack of experience, Defendant started Mr. Consiglio’s wages

 3   at $20.00 per hour as the Human Resources Director, even though Plaintiff only started with $15.00

 4   for the exact same position when she was initially hired, and even though Mr. Consiglio was

 5   responsible for the exact same tasks and duties Plaintiff was responsible for during her tenure as the

 6   Human Resources Director.

 7            33.   Wanting to make the best of a bad situation, Plaintiff agreed to the demotion because

 8   Defendant promised her in writing that the ultimate goal was for Plaintiff to be offered the Human

 9   Resources Director position.

10                   Plaintiff Begins to Feel Alienated Based on Her Religious Beliefs
11            34.   On or around May of 2016, Defendant put Plaintiff in charge of signing up Defendant

12   employees for the various mandatory and “optional” courses, many of which contained Scientology-

13   related values, philosophies, and undertones.

14            35.   On numerous occasions, Plaintiff relayed her discomfort with Defendant’s imposition

15   of religious videos and teachings in the workplace to her superiors, including but not limited to her

16   direct supervisors Mr. Consiglio, Brent Jones, and Blain Jones, on or around June 14, 2016, but

17   nothing was ever done to address the problem.

18            36.   As time progressed, Plaintiff’s co-workers began to interact differently with her, and

19   the workplace environment became extremely unpleasant and unbearable.

20            37.   For example, Mr. Consiglio would often refer to Plaintiff as a “Jack Mormon,” which

21   is a derogatory term that insinuates Plaintiff is not a genuine or strictly-observant follower of the

22   Mormon religion.

23            38.   Plaintiff felt alienated by many of the other employees because many of them held the

24   same religious beliefs, and clearly did not approve of her choice to not participate or convert to

25   Scientology like a few other Defendant employees had done since their employment with Defendant

26   began.

27            39.   Plaintiff performed her work while attempting to ignore the hostile nature of her co-

28   workers and superiors.


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 1       Defendant Refuses to Accommodate Plaintiff’s Disability and Instead Terminates Her
 2          40.       While employed with Defendant, Plaintiff suffered from chronic depression, anxiety,

 3   and Attention-Deficit Hyperactivity Disorder (ADHD), which substantially limited her major life

 4   activities of interacting with others at work.

 5          41.       Plaintiff was open and forthcoming about her medical disabilities to Defendant, as she

 6   informed her direct supervisor, Mr. Consiglio (along with other Defendant employees she worked

 7   with) that her chronic and long-lasting ADHD-related disability prevents her from interacting with

 8   others at work, and that she needed to work with the door shut so that she would not have any

 9   interruptions.

10          42.       Depression and anxiety, when combined with Plaintiff’s ADHD, substantially limited

11   Plaintiff’s ability to work under normal circumstances.

12          43.       At first, Defendant acknowledged Plaintiff’s disability and seemed to accommodate

13   Plaintiff’s request for barriers to be put in place to keep her from being interrupted, as Mr. Consiglio

14   closed Plaintiff’s door after she told him about her disability in May of 2016.

15          44.       However, Defendant’s position drastically changed course in June of 2016, after

16   Plaintiff became eligible for medical benefits and needed medical time off in order to tend to her

17   ADHD, anxiety, and depression.

18          45.       Plaintiff had to wait until June of 2016 to receive her medical benefits because

19   Defendant let its medical insurance benefits coverage lapse for four months.

20          46.       By June of 2016, Plaintiff’s symptoms stemming from her medical disability had

21   become exacerbated because of her extreme discomfort at having to promote and disseminate

22   Scientology-related teachings on behalf of the company. Plaintiff found that she was suffering at

23   work and with each day it became harder for her to focus without socially withdrawing and

24   substantially limiting her communications with co-workers.

25          47.       Accordingly, after receiving notice that she was eligible for medical benefits in early

26   June of 2016, Plaintiff called her doctor in order to schedule an appointment so that she could acquire

27   the medication she needed for her ADHD, panic attacks, anxiety, and depression in order to better

28   herself and her health.


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 1          48.     Plaintiff booked a medical appointment for the earliest date available, but

 2   unfortunately there were not any immediate openings for the month of June of 2016.

 3          49.     Although Plaintiff attempted to get through the remainder of June of 2016 without

 4   incident, she found that her disability prevented her from doing so, as the ADHD, compounded with

 5   the anxiety and depression, consumed Plaintiff and substantially limited her ability to work by

 6   rendering her unable to effectively communicate and interact with others at work.

 7          50.     On or around June 9, 2016, Plaintiff’s symptoms stemming from her disability had

 8   considerably worsened. Plaintiff was afraid to leave her apartment, talk to anyone, or even get out of

 9   bed. Unable to go into work, Plaintiff informed her supervisor, Mr. Consiglio, via text message that

10   she was ill and would not be working that day.

11          51.     Mr. Consiglio’s immediate response to Plaintiff’s request for a day off was to accuse

12   Plaintiff of taking the day off to look for another job, which she denied.

13          52.     After a few days off of work, Plaintiff’s condition had not abated. When Plaintiff

14   informed Mr. Consiglio that she would need time off going into the next week beginning June 13,

15   2016, Mr. Consiglio demanded that Plaintiff provide him with a new doctor’s note every three days

16   until she came back to work.

17          53.     When Plaintiff objected to Mr. Consiglio’s doctor’s note demand by informing him

18   that she was not able to book a medical appointment until August of 2016 but that she would keep

19   calling the doctor’s office to try to get in sooner, Mr. Consiglio ordered her to “go to an urgent care.”

20          54.     In fear of losing her job, Plaintiff then went to an urgent care once every three days so

21   that she could get a doctor’s note to turn into work. This process was extremely stressful and only

22   worsened Plaintiff’s condition.

23          55.     On June 14, 2016, after Defendant learned that Plaintiff had been to urgent care for

24   treatment, Mr. Consiglio asked Plaintiff via text message “What was the diagnosis to be out a whole
25   week???” which made Plaintiff extremely uncomfortable, as it intruded on her medical privacy.
26          56.     Feeling like she had to explain her medical situation once again, Plaintiff emailed Mr.

27   Consiglio, Brent Jones, and Blane Jones on June 14, 2016, reiterating that her diagnosis was due to

28   her ADHD, depression, and anxiety, which had become worse due to the work-related issues she was


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 1   going through, including but not limited to the Scientology-related courses.

 2          57.     While Plaintiff was out on medical leave, Mr. Consiglio began demanding that Plaintiff

 3   give him her work passwords and various course files. Plaintiff refused to give Mr. Consiglio her

 4   email and computer passwords, as she did not feel comfortable doing so until speaking with upper

 5   management, especially while she was still employed with Defendant.

 6          58.     Despite being on a medical leave of absence and providing a doctor’s note, Mr.

 7   Consiglio issued Plaintiff a written warning on June 14, 2016 for attendance.

 8          59.     Plaintiff did not understand why she was receiving any kind of disciplinary action

 9   during her medical time off from work.

10          60.     On or about June 25, 2016, Defendant terminated Plaintiff’s employment without

11   warning or any kind of notice.

12          61.     On the day that Plaintiff was terminated, Defendant asked Plaintiff to return the keys

13   she used for the office. Once Plaintiff stopped by to return the keys, she saw Mr. Consiglio in the

14   parking lot and asked him when she would be able to come back to work, to which Mr. Consiglio

15   responded “You no longer work here.”

16          62.     Thereafter, Defendant filled Plaintiff’s position with Shawna Sullivan, who is

17   significantly younger than Plaintiff, as Plaintiff was 47 years old at the time she worked for Defendant.

18          63.     The termination was not based on deficient job performance as Defendant claims.

19          64.     In reality, Defendant sought a reason to terminate an employee based on her differing

20   religious views, her disabled condition, her age, and her equal pay demands.

21                               Defendant’s Prior Discriminatory Conduct
22          65.     Prior to this incident, Defendant was on notice that its establishment subjected

23   employees to discrimination, a hostile work environment, and retaliation in violation of Title VII of

24   the Civil Rights Act.

25          66.     Defendant has already been sued for religious discrimination at least once before by

26   another former employee who also claims to have suffered adverse actions after refusing to participate

27   in Defendant’s “optional” religious-based coursework.

28          67.     Defendant’s discriminatory actions are consistent with a pattern and practice of


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 1   religious discrimination that subjects Defendant to punitive damages.

 2                                      FIRST CLAIM FOR RELIEF
 3                 Violation of Title VII of the Civil Rights Act; 42 U.S.C § 2000e et. seq.
 4                                    (Unlawful Employment Practice)
 5           68.     Plaintiff repeats and re-alleges the allegations of the preceding paragraphs of the

 6   complaint as through fully set forth herein, and incorporates the same herein by reference.

 7           69.     Defendant breached its obligation to provide a workplace free from discrimination and

 8   hostility based on religion.

 9           70.     Defendant breached this obligation by requiring employees to watch Scientology-

10   themed videos and attend Scientology-themed seminars, by disfavoring employees who refused to do

11   so because they did not share the religious beliefs that Defendant promoted, and by failing to act after

12   Plaintiff notified management of this discriminatory behavior.

13           71.     Defendant discriminated against Plaintiff by subjecting her to, among other

14   discriminatory acts, loss of compensation and termination, while other similar situated employees

15   who did share Defendant’s promoted religious beliefs and who did submit to Defendant’s religiously-

16   motivated demands without complaint were not exposed to the same discriminatory conduct.

17           72.     Defendant engaged in an unlawful employment practice when its supervisors

18   repeatedly attempted to coerce Plaintiff into participating in religious programs (which had no relation

19   to the company’s work and which Defendant knew were inconsistent with Plaintiff’s beliefs), and

20   even leveraged them with pay raises.

21           73.     Defendant conditioning pay raises on completing religious programs constitutes an

22   unlawful employment action because it discriminates against employees who do not hold those

23   religious beliefs.

24           74.     Defendant’s discrimination and retaliation based on religion deprived Plaintiff of

25   employment opportunities and adversely affected her status as an employee.

26           75.     As a result of Defendant’ actions, Plaintiff has suffered lost wages, mental anguish,

27   emotional distress, inconvenience, and loss of enjoyment of life.

28   ///


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 1                                      SECOND CLAIM FOR RELIEF
 2                 Violation of Title VII of the Civil Rights Act; 42 U.S.C § 2000e et. seq.
 3                           (Intentional Discrimination – Disparate Treatment)
 4           76.     Plaintiff repeats and re-alleges the allegations of the preceding paragraphs of the

 5   complaint as through fully set forth herein, and incorporates the same herein by reference.

 6           77.     Defendant deprived Plaintiff of the enjoyment of all benefits, privileges, terms and

 7   conditions of the employment relationship by subjecting Plaintiff to unlawful disparate treatment

 8   based on religion at her place of employment.

 9           78.     Defendant discriminated against Plaintiff by subjecting her to, among other

10   discriminatory acts, loss of compensation and termination, while other similarly-situated employees

11   who did share Defendant’s promoted religious beliefs and who did submit to Defendant’s religiously-

12   motivated demands were not exposed to the same discriminatory conduct.

13           79.     Defendant conditioning pay raises on completion of religious Scientology programs

14   constitutes unlawful disparate treatment, as it discriminates against employees who do not hold those

15   religious beliefs.

16           80.     Defendant knew that Plaintiff did not share the religious beliefs it promoted and

17   intentionally treated her differently for this reason.

18           81.     Defendant’s actions were taken with malice and/or with reckless indifference to

19   Plaintiff’s federally protected rights.

20           82.     As a result of Defendant’s actions, Plaintiff has suffered lost wages, mental anguish,

21   emotional distress, inconvenience and loss of enjoyment of life.

22           83.     Plaintiff is entitled to recover compensatory damages due to Defendant engaging in

23   unlawful discrimination.

24           84.     Plaintiff is entitled to recover punitive damages because Defendant acted with reckless

25   indifference to federally protected rights of aggrieved Plaintiff when Defendant failed to rectify or

26   even acknowledge the unlawful behavior.

27           85.     It has been necessary for Plaintiff to retain the services of attorneys and she is entitled

28   to reasonable costs and attorneys’ fees.


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 1                                       THIRD CLAIM FOR RELIEF
 2                  Violation of Title VII of the Civil Rights Act; 42 U.S.C § 2000e et. seq.
 3                        (Intentional Discrimination – Hostile Work Environment)
 4           86.     Plaintiff repeats and re-alleges the allegations of the preceding paragraphs of the

 5   complaint as through fully set forth herein, and incorporates the same herein by reference.

 6           87.     Defendant deprived Plaintiff of the enjoyment of all benefits, privileges, terms and

 7   conditions of the employment relationship by subjecting Plaintiff to a hostile work environment.

 8           88.     Defendant subjected Plaintiff to a hostile work environment by showing blatant

 9   disfavor towards her in comparison to other employees who shared the religious beliefs Defendant

10   promoted and submitted to Defendant’s demands to participate in Scientology-themed programs and

11   activities without complaint.

12           89.     Defendant also subjected Plaintiff to a hostile work environment by allowing

13   Plaintiff’s coworkers to treat her unfavorably because of her refusal to participate in all of the

14   Scientology-themed activities and her decision to voice her opinions against the activities.

15           90.     Specifically, Plaintiff’s co-workers interacted differently with Plaintiff because of her

16   extreme reluctance to participate in any of the Scientology-themed activities, and the workplace

17   environment became extremely unpleasant.

18           91.     Plaintiff’s co-workers also ridiculed her for practicing Mormonism, which made her

19   feel like her religion was not equally respected just because it was the same religion practiced by

20   Defendant’s owner Brent Jones and various other members of upper-management, who all practice

21   Scientology.

22           92.     Plaintiff felt alienated by many of the other employees because many of them held the

23   same religious beliefs, and clearly did not approve of Plaintiff’s decision to voice her opinions against

24   the Scientology-themed activities.

25           93.     Defendant maintained a hostile work environment by failing to take remedial action

26   after Plaintiff notified management of Defendant’s unlawful behavior.

27           94.     Defendant’s actions were taken with malice and/or with reckless indifference to

28   Plaintiff’s federally protected rights.


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 1           95.        As a result of Defendant’s actions, Plaintiff has suffered lost wages, mental anguish,

 2   emotional distress, inconvenience and loss of enjoyment of life.

 3           96.        Plaintiff is entitled to recover compensatory damage due to the Defendant engaging in

 4   unlawful discrimination.

 5           97.        Plaintiff is entitled to recover punitive damages because Defendant acted with reckless

 6   indifference to federally protected rights of aggrieved Plaintiff when the Defendant failed to rectify

 7   or even acknowledge the unlawful behavior.

 8           98.        It has been necessary for Plaintiff to retain the services of attorneys and she is entitled

 9   to reasonable costs and attorneys’ fees.

10                                        FOURTH CLAIM FOR RELIEF
11                  Violation of Title VII of the Civil Rights Act; 42 U.S.C § 2000e et seq.
12                                                    (Retaliation)
13           99.        Plaintiff repeats and re-alleges the allegations of the preceding paragraphs of the

14   complaint as through fully set forth herein, and incorporates the same herein by reference.

15           100.       Defendant discriminated against Plaintiff by subjecting her to, among other

16   discriminatory acts, loss of compensation and termination, while other similarly situated employees,

17   who shared Defendant’s promoted religious beliefs and submitted to Defendant’s demands to

18   participate in Scientology-themed programs and activities without complaint, were not exposed to the

19   same discriminatory conduct.

20           101.       Plaintiff engaged in a protected activity when she expressed her opposition to

21   Defendant’s requirement that she participate in Scientology-themed activities, refusing to subject

22   herself to religious propaganda; this is true even if the programs were not unlawful, so long as Plaintiff

23   reasonably believed that they were, which she does.

24           102.       Plaintiff had the right to refuse to participate in religious, Scientology-themed

25   activities, as the programs were not related to her work, and violated her personal religious rights.

26           103.       Defendant conditioning pay raises on completing religious Scientology programs was

27   reasonably likely to deter reasonable workers from engaging in the protected activity of choosing to

28   not participate.


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 1            104.   Defendant allowing coworkers to alienate employees who did not participate in

 2   Scientology-themed activities was also reasonably likely to deter reasonable workers from engaging

 3   in the protected activity of choosing to not participate.

 4            105.   Defendant took an adverse employment action against Plaintiff by terminating her.

 5            106.   Defendant deliberately targeted Plaintiff for termination because of her refusal to

 6   submit to Defendant’s demands that she participate in religious, Scientology-themed activity.

 7            107.   Defendant sought a reason to terminate Plaintiff because she had differing religious

 8   views.

 9            108.   Mr. Consiglio hastily-composing “Non-Optimum Reports” in the weeks prior to

10   Plaintiff’s termination was clearly pretext for her termination.

11            109.   As a result of Defendant’ actions, Plaintiff has suffered lost wages, mental anguish,

12   emotional distress, inconvenience, and loss of enjoyment of life.

13                                      FIFTH CLAIM FOR RELIEF
14                                        Nevada State Law Violation
15                         (Violation of NRS 613.330 – Religious Discrimination)
16            110.   Plaintiff repeats and re-alleges the allegations of the preceding paragraphs of the

17   complaint as though fully set forth herein, and incorporates the same herein by reference.

18            111.   Defendant discriminated against Plaintiff by subjecting her to, among other

19   discriminatory acts, loss of compensation and termination, while other similarly situated employees,

20   who shared Defendant’s promoted religious beliefs and submitted to Defendant’s demands that they

21   participate in Scientology-themed programs and activities without complaint, were not exposed to the

22   same discriminatory conduct.

23            112.   As a result of Defendant’s actions, Plaintiff has suffered lost wages, mental anguish,

24   emotional distress, inconvenience and loss of enjoyment of life.

25            113.   Defendant’s discrimination deprived Plaintiff of employment opportunities and

26   adversely affected her status as an employee.

27   ///

28   ///


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 1                                       SIXTH CLAIM FOR RELIEF
 2                                         Nevada State Law Violation
 3                                             (Tortious Discharge)
 4          114.      Plaintiff repeats and re-alleges the allegations of the preceding paragraphs of the

 5   complaint as though fully set forth herein, and incorporates the same herein by reference.

 6          115.      Defendant tortiously discharged Plaintiff by terminating her for reasons which violate

 7   public policy.

 8          116.      Specifically, Defendant terminated Plaintiff because she did not share the religious

 9   beliefs that Defendant promoted and because she refused to submit to all of Defendant’s demands that

10   she participate in religious, Scientology-themed programs and activities.

11          117.      Defendant terminated Plaintiff for reasons severely adverse to strong and compelling

12   public policy and the common good.

13          118.      Despite Plaintiff’s frequent objections to Defendant’s conduct, Defendant never sought

14   to cure these violations.

15                                     SEVENTH CLAIM FOR RELIEF
16    Violation of Title I of the Americans with Disabilities Amendments Act; 42 U.S.C §§ 12101 et
17                                                      seq.
18                                         (Disability Discrimination)
19          119.      Plaintiff repeats and re-alleges the allegations of the preceding paragraphs of the

20   complaint as though fully set forth herein, and incorporates the same herein by reference.

21          120.      While employed with Defendant, Plaintiff suffered from mental and/or physical

22   impairments consisting of chronic depression, anxiety, and Attention-Deficit Hyperactivity Disorder

23   (ADHD),

24          121.      Plaintiff’s impairments substantially limited her major life activities of concentrating,

25   thinking, communicating, and interacting with others at work.

26          122.      Plaintiff was open and forthcoming about her medical disabilities to Defendant, as she

27   informed her direct supervisor, Mr. Consiglio (along with other Defendant employees she worked

28   with) that her chronic and long-lasting ADHD-related disability prevents her from interacting with


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 1   others at work, and that she needed to work with the door shut so that she would not have any

 2   interruptions.

 3          123.      Plaintiff’s ongoing depression and anxiety, when combined with Plaintiff’s ADHD,

 4   substantially limited Plaintiff’s ability to work under normal circumstances.

 5          124.      However, Plaintiff was otherwise qualified to perform the essential functions of her

 6   job as long as she had reasonable accommodations from Defendant, which included minimal

 7   interruptions from her work.

 8          125.      At first, Defendant acknowledged Plaintiff’s disability and seemed to accommodate

 9   Plaintiff’s request for barriers to be put in place to keep her from being interrupted, as Mr. Consiglio

10   closed Plaintiff’s door after she told him about her disability in May of 2016.

11          126.      However, Defendant’s position drastically changed course in June of 2016, after

12   Plaintiff became eligible for medical benefits and needed medical time off in order to tend to her

13   ADHD, anxiety, and depression.

14          127.      By June of 2016, Plaintiff’s symptoms stemming from her medical disability had

15   become exacerbated. She was suffering at work and with each day it became harder for her to focus

16   without socially withdrawing and substantially limiting her communications with co-workers.

17          128.      Accordingly, after receiving notice that she was eligible for medical benefits in early

18   June of 2016, Plaintiff called her doctor in order to schedule an appointment so that she could acquire

19   the medication she needed for her ADHD, panic attacks, anxiety, and depression in order to better

20   herself and her health.

21          129.      Plaintiff booked a medical appointment for the earliest date available, but

22   unfortunately there were not any immediate openings for the month of June of 2016.

23          130.      Although Plaintiff attempted to get through the remainder of June of 2016 without

24   incident, she found that her disability prevented her from doing so, as the ADHD, compounded with

25   the anxiety and depression, consumed Plaintiff and substantially limited her ability to work by

26   rendering her unable to effectively communicate and interact with others at work.

27          131.      On or around June 9, 2016, Plaintiff’s symptoms stemming from her disability had

28   considerably worsened. Plaintiff was afraid to leave her apartment, talk to anyone, or even get out of


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 1   bed. Unable to go into work, Plaintiff informed her supervisor, Mr. Consiglio, via text message that

 2   she was ill and would not be working that day.

 3          132.    Mr. Consiglio’s immediate response to Plaintiff’s request for a day off was to accuse

 4   Plaintiff of taking the day off to look for another job, which she denied.

 5          133.    After a few days off of work, Plaintiff’s condition had not abated. When Plaintiff

 6   informed Mr. Consiglio that she would need time off going into the next week beginning June 13,

 7   2016, Mr. Consiglio demanded that Plaintiff provide him with a new doctor’s note every three days

 8   until she came back to work.

 9          134.    When Plaintiff objected to Mr. Consiglio’s doctor’s note demand by informing him

10   that she was not able to book a medical appointment until August of 2016 but that she would keep

11   calling the doctor’s office to try to get in sooner, Mr. Consiglio ordered her to “go to an urgent care.”

12          135.    In fear of losing her job, Plaintiff then went to an urgent care once every three days so

13   that she could get a doctor’s note to turn into work. This process was extremely stressful and only

14   worsened Plaintiff’s condition.

15          136.    On June 14, 2016, after Defendant learned that Plaintiff had been to urgent care for

16   treatment, Mr. Consiglio asked Plaintiff via text message “What was the diagnosis to be out a whole
17   week???” which made Plaintiff extremely uncomfortable, as it intruded on her medical privacy.
18          137.    Feeling like she had to explain her medical situation once again, Plaintiff emailed Mr.

19   Consiglio, Brent Jones, and Blane Jones on June 14, 2016, reiterating that her diagnosis was due to

20   her ADHD, depression, and anxiety, which had become worse due to the work-related issues she was

21   going through, including but not limited to the Scientology-related courses.

22          138.    While Plaintiff was out on medical leave, Mr. Consiglio began demanding that Plaintiff

23   give him her work passwords and various course files. Plaintiff refused to give Mr. Consiglio her

24   email and computer passwords, as she did not feel comfortable doing so until speaking with upper

25   management, especially while she was still employed with Defendant.

26          139.    Despite Plaintiff being on a medical leave of absence for her disability and providing

27   a doctor’s note, Mr. Consiglio subjected Plaintiff to the adverse action of a written warning on June

28   14, 2016 for attendance.


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 1           140.      On or about June 25, 2016, Defendant terminated Plaintiff’s employment without

 2   warning or any kind of notice.

 3           141.      Upon information and belief, Defendant subjected Plaintiff to the adverse actions of a

 4   written warning, a required doctor’s note once every three days, and termination because of

 5   Defendant’s perceptions of Plaintiff’s limitations due to her disability.

 6           142.      In doing the acts and omissions alleged herein, Defendant knew or should have known

 7   that its conduct was directed to a person with a disability, thereby entitling Plaintiff to recover all

 8   damages, penalties, and/or other such remedies pursuant to federal law.

 9           143.      Defendant’s actions were taken with malice and/or with reckless indifference to

10   Plaintiff’s federally protected rights.

11           144.      As a result of Defendant’s actions, Plaintiff has suffered lost wages, mental anguish,

12   emotional distress, inconvenience and loss of enjoyment of life.

13           145.      Plaintiff is entitled to recover compensatory damage due to the Defendant engaging in

14   unlawful disability discrimination.

15                                      EIGHTH CLAIM FOR RELIEF
16         Violation of Title V of the Americans with Disabilities Act; 42 U.S.C §§ 12203 et seq.
17                                                  (Retaliation)
18           146.      Plaintiff repeats and re-alleges the allegations of the preceding paragraphs of the

19   complaint as though fully set forth herein, and incorporates the same herein by reference.

20           147.      Plaintiff engaged in protected employee activity by requesting an accommodation for

21   her disability.

22           148.      Specifically, Plaintiff reasonably requested medical time off of work to tend to her

23   disability, which was debilitating her emotionally and mentally, until she could get in to see a

24   professional doctor.

25           149.      Defendant effectively denied Plaintiff’s request for an accommodation by: giving her

26   a written warning for attendance, requiring a doctor’s note once every three days, and terminating her,

27   all in the span of weeks after Plaintiff requested her accommodation.

28           150.      The timing of Defendant’s adverse actions establishes a causal connection between


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 1   Plaintiff’s protected activity and the adverse actions which ultimately resulted in Plaintiff’s

 2   termination.

 3           151.    In doing the acts and omissions alleged herein, Defendant knew or should have known

 4   that its conduct was directed to a person with a disability, thereby entitling Plaintiff to recover all

 5   damages, penalties, and/or other such remedies pursuant to federal law.

 6           152.    Defendant’s actions were taken with malice and/or with reckless indifference to

 7   Plaintiff’s federally protected rights.

 8           153.    As a result of Defendant’s actions, Plaintiff has suffered lost wages, mental anguish,

 9   emotional distress, inconvenience and loss of enjoyment of life.

10           154.    Plaintiff is entitled to recover compensatory damage due to the Defendant engaging in

11   unlawful disability discrimination.

12                                       NINTH CLAIM FOR RELIEF
13                                         Nevada State Law Violation
14                         (Violation of NRS 613.330 – Disability Discrimination)
15           155.    Plaintiff repeats and re-alleges the allegations of the preceding paragraphs of the

16   complaint as though fully set forth herein, and incorporates the same herein by reference.

17           156.    Defendant discriminated against Plaintiff by subjecting her to, among other

18   discriminatory acts, loss of compensation and termination, while other similarly situated employees,

19   who did not request an accommodation for disability entailing time off of work, were not exposed to

20   the same discriminatory conduct.

21           157.    As a result of Defendant’s actions, Plaintiff has suffered lost wages, mental anguish,

22   emotional distress, inconvenience and loss of enjoyment of life.

23           158.    Defendant’s discrimination deprived Plaintiff of employment opportunities and

24   adversely affected her status as an employee.

25                                      TENTH CLAIM FOR RELIEF
26         Violation of the Age Discrimination in Employment Act of 1967 – 29 U.S.C.A. § 623
27           159.    Plaintiff repeats and re-alleges the allegations of the preceding paragraphs of the

28   complaint as though fully set forth herein, and incorporates the same herein by reference.


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 1          160.    At all times relevant hereto for purposes of this Complaint, Plaintiff was over 40 years

 2   old.

 3          161.    Defendant employed a specific policy and practice which had a significantly adverse

 4   or disproportionate impact on employees 40 years of age or older.

 5          162.    Defendant utilized Plaintiff’s medical leave as a means to terminate her employment

 6   and fill her position with a younger employee.

 7          163.    Other employees of Defendant over 40 years old have also been arbitrarily terminated

 8   in order to fill their positions with younger employees.

 9          164.    Because of this policy and practice, Plaintiff has suffered lost wages, mental anguish,

10   emotional distress, inconvenience, and loss of enjoyment of life.

11          165.    It has been necessary for Plaintiff to retain the services of attorneys and she is entitled

12   to reasonable costs and attorneys’ fees.

13                                   ELEVENTH CLAIM FOR RELIEF
14    Violation of the Fair Labor Standards Act of 1938, as amended by the Equal Pay Act of 1963
15                                   (“EPA”), 29 U.S.C.A §§ 206, et seq.
16          166.    Plaintiff repeats and re-alleges the allegations of the preceding paragraphs of the

17   complaint as though fully set forth herein, and incorporates the same herein by reference.

18          167.    Defendant discriminated against Plaintiff by providing her with lower pay than her

19   similarly-situated male colleague in the Human Resources Department on the basis of her gender

20   (female), even though Plaintiff performed similar duties requiring the same skill, effort, and

21   responsibility of her male counterpart.

22          168.    Upon information and belief, Plaintiff’s starting salary with Defendant was $15.00 per

23   hour, whereas her male counterpart’s starting salary was $20.00 per hour.

24          169.    The differential in pay between Plaintiff and her male counterpart was not due to

25   seniority, merit, quantity, or quality of production, or a factor other than sex, but was due to gender.

26          170.    Upon information and belief, Plaintiff has superior human resource experience than

27   her male counterpart, Frank Consiglio.

28          171.    Plaintiff and Mr. Consiglio performed similar job duties and functions in the Human


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 1   Resources Department that required equal skill, effort, and responsibility, and were performing under

 2   similar working conditions.

 3           172.    Upon information and belief, Mr. Consiglio did not have any previous human resource

 4   experience prior to starting employment in the Human Resources Department with Defendant,

 5   whereas Plaintiff actually had an abundance of previous human resource experience.

 6           173.    Defendant willfully caused, attempted to cause, contributed to, or caused the

 7   continuation of wage rate discrimination based on gender, in violation of the EPA.

 8           174.    As a result of Defendant’s conduct as alleged in this Complaint, Plaintiff has suffered

 9   lost wages, mental anguish, emotional distress, inconvenience, and loss of enjoyment of life.

10           175.    By reason of Defendant’s discrimination, Plaintiff is entitled to all legal and equitable

11   remedies available for violations of the EPA, including liquidated damages for all willful violations,

12   prejudgment interest, attorneys’ fees, costs, and other compensation pursuant to 29 U.S.C. § 216(b).

13           176.    It has been necessary for Plaintiff to retain the services of attorneys and she is entitled

14   to reasonable costs and attorneys’ fees under 29 U.S.C. § 216(b).

15                                        DEMAND FOR JURY TRIAL
16           177.    Pursuant to the Seventh Amendment of the United States Constitution, Plaintiff

17   invokes her right to trial by jury in this civil action.

18                                           PRAYER FOR RELIEF
19           WHEREFORE, Plaintiff prays for judgment against Defendant, and each of them, as follows:

20           1.      For a judgment in favor of Plaintiff against Defendant, and each of them, on the

21   complaint and all claims for relief asserted therein;

22           2.      For an award of economic damages in an amount sufficient to make Plaintiff whole for

23   past and future lost income and benefits and other economic losses suffered by Plaintiff resulting from

24   Defendant’ conduct;

25           3.      For an award of compensatory damages from mental anguish, emotional distress, pain

26   and suffering, humiliation, harm to reputation and other losses incurred by Plaintiff as a result of

27   Defendant’s conduct;

28           4.      For an award of prejudgment and post-judgment interest;


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 1          5.     For an award of punitive damages;

 2          6.     For an award of Plaintiff’s cost of suit incurred herein; and

 3          7.     For an award of attorney’s fees and related expenses pursuant to § 706(k) of Title VII,

 4   42 U.S.C. § 2000e-5(k) and other corresponding federal law.

 5          8.     For an award of such other relief the Court may deem just and proper.

 6          DATED this 22nd day of November, 2016.

 7                                                     Respectfully submitted,

 8                                                     MAIER GUTIERREZ AYON
 9
                                                       _/s/ Danielle J. Barraza___________________
10                                                     JOSEPH A. GUTIERREZ, ESQ.
                                                       Nevada Bar No. 9046
11                                                     DANIELLE J. BARRAZA, ESQ.
                                                       Nevada Bar No. 13822
12                                                     8816 Spanish Ridge Avenue
                                                       Las Vegas, Nevada 89148
13                                                     Attorneys for Plaintiff Lisa Marie Bailey
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